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                              EXHIBIT AA
Sent:       Mon, 07 May 2012 03:27:46 +0000
From:        Case Altschuler,
            "Daniel 2:18-cv-03549-GRB-ST           DocumentTable"
                               Long Island Civic Engagement  39-27   Filed 03/01/19 Page 2 of 2 PageID #: 674
                                                                  <daniel.altschuler@maketheroadny.org>
To:         Daniel Altschuler <daniel.altschuler@maketheroadny.org>
Subject:    Want Better Schools? Come to Wednesday's Candidate Forum!

Dear Daniel,

The school board elections are only a week away (May 15th)! In Brentwood, where the school board has been repeatedly accused of
racial discrimination, it's particularly important that voters educate themselves about their choice and go out to vote.

That's why we’re warmly inviting you to a candidate forum this Wednesday, May 9, at 6:30pm at the Brentwood public library (34
Second Ave.), that we're co-hosting with Long Island Wins and Noticia. The event will give local residents an opportunity to ask the
candidates directly about their platforms and make an informed choice on election day. Can we count on you to join us for the
candidate forum? If so, please click here and enter your information.

 This will be a great opportunity to learn about the school board’s role in this district and about the upcoming election. For more information,
 check out this week’s editorial in Noticia.

 Also, we're going to continue to Get Out the Vote again this weekend. Every vote—and every door knocked and phone call made—will count!
 Can we count on you to join us to Get Out the Vote this Saturday, May 12th, at 11am? If so, please RSVP here.

 We look forward to working with you to make sure in the next week to make sure that Brentwood voters are heard on Election Day!

 Thanks for all you do,

 Daniel

 Long Island Civic Engagement Table
http://www.licivicengagement.org/

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